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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-116-PB

Kevin Croteau, et al.


                               O R D E R

     The defendant has moved, through counsel, to continue the

trial scheduled for November 4, 2008, citing the need for

additional time to complete discovery and prepare a defense or

engage in plea negotiations.     The government and co-defendant,

Laura Moore, do not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from November 4, 2008 to January 6, 2009.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The October 23, 2008 final pretrial conference is continued

to December 22, 2008 at 4:45 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

October 21, 2008

cc:   Jessica Brown, Esq.
      Clyde Garrigan, AUSA
      United States Probation
      United States Marshal




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